     Case 2:23-cv-02224-SHL-atc          Document 276         Filed 01/03/25     Page 1 of 3
                                         PageID 3124



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

ROWVAUGHN WELLS, Individually
and as Administratrix Ad Litem of the
Estate of Tyre Deandre Nichols, deceased.

       Plaintiff,

v.                                                           Case No. 2:23-cv-02224-MSN-atc
                                                             JURY DEMAND
THE CITY OF MEMPHIS, a municipality,
et al.,

      Defendants.
______________________________________________________________________________

                   THIRD AMENDED SCHEDULING ORDER
______________________________________________________________________________

       Before the Court is the Joint Motion to Modify the Second Amended Scheduling Order

(ECF No. 201), Defendant City of Memphis’s Motion to Modify the Second Amended Scheduling

Order (ECF No. 246), Plaintiff’s Response in Opposition to Motion Defendant City of Memphis

to Enter a Scheduling Order (ECF No. 247), Defendant Michell Whitaker’s Response in

Opposition to Defendant City of Memphis’[s] Motion to Modify the Second Amended Scheduling

Order (ECF No. 254), and Plaintiff’s Motion for Hearing on Scheduling Order (ECF No. 267).

The Court held a status conference on January 3, 2025, to address the pending motions and discuss

the progress of the case. For the reasons stated in the parties’ motions and as discussed during the

status conference, the Court finds the proposed modifications to the Second Amended Scheduling

Order well-taken and warranted.

       Accordingly, the following dates are established as the final deadlines for:
     Case 2:23-cv-02224-SHL-atc          Document 276        Filed 01/03/25      Page 2 of 3
                                         PageID 3125



ALTERNATIVE DISPUTE RESOLUTION:

       (a) ADR DEADLINE PURSUANT TO ADR PLAN RULE 4.3(a): March 28, 2025
           Mediator must file Mediation Certification Form:
           https://www.tnwd.uscourts.gov/pdf/content/MediationCertificationForm.pdf

       (b) SELECTION OF MEDIATOR PURSUANT TO ADR PLAN RULE 5.4(c)2:

           STIPULATION FILING DATE: February 18, 20251

COMPLETING ALL DISCOVERY: August 29, 2025

       (a) DOCUMENT PRODUCTION AND INTERROGATORIES: July 12, 2025

       (b) DEPOSITIONS: August 29, 2025

       (c) REQUESTS FOR ADMISSIONS: July 12, 2025

EXPERT WITNESS DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(2):

   (a) DISCLOSURE OF PLAINTIFF’S (OR PARTY WITH BURDEN OF PROOF)
       RULE 26(a)(2) EXPERT INFORMATION: September 19, 2025

   (b) DISCLOSURE OF DEFENDANT’S (OR OPPOSING PARTY) RULE 26(a)(2)
       EXPERT INFORMATION: October 10, 2025

   (c) EXPERT WITNESS DEPOSITIONS: November 7, 2025

MOTIONS TO EXCLUDE EXPERTS UNDER F.R.E. 702/DAUBERT MOTIONS:
December 19, 2025

SUPPLEMENTATION UNDER RULE 26(e)(1): September 29, 2025

FILING DISPOSITIVE MOTIONS: December 19, 2025

RESPONSES TO DISPOSITIVE MOTIONS: January 19, 2026.

REPLIES TO DISPOSITIVE MOTIONS: February 9, 2026

JOINT PROPOSED PRETRIAL ORDER DUE: Friday, June 19, 2026
(E-mail Joint Proposed Pretrial Order in Word format to:
ECF_Judge_Norris@tnwd.uscourts.gov)


       1
         If the parties fail to agree upon a Mediator by this deadline, the Court shall select a
Mediator for the case from the Court’s Mediator list and shall issue an Order notifying the parties
of the Mediator’s identity.
                                                2
    Case 2:23-cv-02224-SHL-atc        Document 276       Filed 01/03/25     Page 3 of 3
                                      PageID 3126




PRETRIAL CONFERENCE DATE: Friday, June 26, 2026, at 9:30 a.m.

JURY TRIAL: Monday, July 13, 2026, at 9:30 a.m. Trial is anticipated to last approximately 15
days.
      IT IS SO ORDERED, this 3rd day of January, 2025.

                                                  s/ Mark S. Norris
                                                  MARK S. NORRIS
                                                  UNITED STATES DISTRICT JUDGE




                                             3
